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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

 CODY DAHL and TONYA COLE DAHL,                       §
 Individually and as Executors / Administrators       §
 of the Estate of ABIGAIL OPAL DAHL, a                §
 deceased minor child,                                §
                                                      §
                 Plaintiffs,                          §
                                                      §
 v.                                                   §
                                                      §
 ALPHABET, INC., DISCORD INC.,                        §   CIVIL ACTION NO. 1:23-cv-1496
 GOOGLE, LLC, dba Duo/Meet, Gboard,                   §
 Youtube, and all subsidiaries, HOLLA                 §
 GROUP, LTD., dba Monkey, SNAP INC., dba              §
 SNAPCHAT, JOHN & JANE DOES 1-10,                     §
 Corporate COS., 1-10,                                §
                                                      §
                 Defendants.                          §
                                                      §

                                   NOTICE OF REMOVAL

       Defendant Discord Inc. (“Discord”) through its undersigned counsel, and with the consent

of the other named defendants in this action, hereby removes Case No. 423-9472, filed in the

District Court of Bastrop County, Texas (the “State Court Action”), to the United States District

Court for the Western District of Texas, Austin Division, pursuant to 28 U.S.C. §§ 1441(a) and

1446(a) based on complete diversity of citizenship under 28 U.S.C. § 1332(a)(3). Discord submits

this “short and plain statement of the grounds for removal” pursuant to 28 U.S.C. § 1446(a), and

states the following in support:

                                   THE REMOVED CASE

       1.      On or about November 2, 2023, Plaintiffs Cody Dahl and Tonya Cole Dahl

(“Plaintiffs”) filed a petition, pro se, against Alphabet, Inc., Discord Inc., Google, LLC, Holla

Group Ltd., and Snap Inc. (the “Defendants”), in the District Court of Bastrop County, Texas as

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Case No. 423-9472 (“the Petition”). A copy of the Petition is attached to this Notice as part of

Exhibit A.

       2.       In addition to bringing suit against the Defendants, Plaintiffs also bring suit against

multiple unnamed and unidentified John and Jane Does and Corporate Cos. Per 28 U.S.C. §

1441(b)(1), “the citizenship of defendants sued under fictitious names shall be disregarded” for

removal purposes. See Doleac ex rel. Doleac v. Michalson, 264 F.3d 470, 474 (5th Cir. 2001).

       3.       Alphabet, Inc. was purportedly served with a copy of the Petition on or about

November 15, 2023.

       4.       Discord Inc. was purportedly served with a copy of the Petition on or about

November 16, 2023.

       5.       Google, LLC was purportedly served with a copy of the Petition on or about

November 14, 2023.

       6.       Snap Inc. was purportedly served with a copy of the Petition on or about

November 15, 2023.

       7.       Upon information and belief, as of the date of this filing, Holla Group Ltd. has not

yet been served with a copy of the Petition.

       8.       The Petition seeks redress for the death of Plaintiffs’ daughter and alleges that

unidentified “content creators” communicated with Plaintiffs’ daughter through the Defendants’

online platforms and induced her to commit suicide. (Petition ¶¶ 37-99.)

       9.       The Defendants have not pleaded, answered, or otherwise appeared in the State

Court Action.

       10.      To Discord’s knowledge, no orders have been issued and no hearings or other

proceedings have taken place in this action.



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       11.     Discord now timely and properly removes this case pursuant to 28 U.S.C. §§ 1332,

1441, and 1446 based on diversity of citizenship.

                                           CONSENT

       12.     Pursuant to 28 U.S.C. 1446(b)(2), the other defendants in this action that have been

served (Alphabet, Inc., Discord Inc., Google, LLC, and Snap Inc.) have consented to the removal

of this action. Copies of their signed consent forms are attached to this Notice as Exhibit B.

                            DIVERSITY JURISDICTION EXISTS

       13.     This Court has diversity jurisdiction over this matter because complete diversity

exists, the amount in controversy exceeds $75,000 exclusive of interests and costs, and none of the

Defendants are citizens of Texas. See 28 U.S.C. §§ 1332 and 1441.

       A.      There is Complete Diversity Between the Parties.

       14.     There is complete diversity of citizenship between the parties in this case:

               A.     Plaintiff Tonya Cole Dahl is a resident of and domiciled in Texas and is

                      therefore a citizen of Texas for diversity purposes. (Petition ¶ 13.).

               B.     Her husband, Plaintiff Cody Dahl, is also a resident of and domiciled in

                      Texas and states that he “is in the process of establishing permanent USA

                      residency.” (Id.)

               C.     Defendant Alphabet, Inc. is organized under the laws of the State of

                      Delaware and maintains its principal place of business in California.

                      Therefore, Alphabet, Inc. is a citizen of Delaware and California, but not

                      Texas, for purposes of diversity jurisdiction. See 28 U.S.C. § 1332(c)(1);

                      Hertz Corp. v. Friend, 559 U.S. 77, 92–93 (2010).

               D.     Defendant Discord Inc. is organized under the laws of the State of Delaware

                      and maintains its principal place of business in California. Therefore,

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                       Discord Inc. is a citizen of Delaware and California, but not Texas, for

                       purposes of diversity jurisdiction. See id.

               E.      Defendant Google, LLC is a limited liability company organized under the

                       laws of the State of Delaware. Google’s sole member is XXVI Holdings,

                       Inc. XXVI Holdings, Inc. is incorporated under the laws of the State of

                       Delaware and maintains its principal place of business in California.

                       Google is therefore a citizen of Delaware and California for jurisdictional

                       purposes. See MidCap Media Fin., L.L.C. v. Pathway Data, Inc., 929 F.3d

                       310, 314 (5th Cir. 2019).

               F.      Defendant Snap Inc. is organized under the laws of the State of Delaware

                       and maintains its principal place of business in California. Therefore, Snap

                       Inc. is a citizen of Delaware and California, but not Texas, for purposes of

                       diversity jurisdiction. See 28 U.S.C. § 1332(c)(1); Hertz Corp., 559 U.S. at

                       92–93.

               G.      Defendant Holla Group Ltd. is organized under the laws of the United

                       Kingdom and maintains its principal place of business in the United

                       Kingdom. Therefore, Holla Group Ltd. is a citizen of a foreign state for

                       purposes of diversity jurisdiction. See id.

       15.     There are no other named plaintiffs or defendants.

       16.     As such, the required diversity of citizenship is satisfied because this is a case

between citizens of different states in which citizens of a foreign state are additional parties. See

28 U.S.C. § 1332(a)(3).




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       B.      The Amount-in-Controversy Requirement Is Satisfied.

       17.     Plaintiffs seek monetary relief in an amount of “not less than $52,000,000.00 (fifty-

two million dollars)[.]” (Petition ¶ 29.) Thus, without conceding any merit to the Petition’s

allegations or causes of action, the amount in controversy well exceeds $75,000.

       18.     This Court, therefore, has diversity jurisdiction over this civil action pursuant to

28 U.S.C. § 1332, and the action may be removed pursuant to 28 U.S.C. §§ 1441 and 1446.

       C.      Removal Is Procedurally Proper.

       19.     Removal to the United States District Court for the Western District of Texas,

Austin Division is proper because it embraces the District Court of Bastrop County, Texas, where

this action was pending before removal. See 28 U.S.C. §§ 124(d)(1); 1441(a); 1446(a).

       20.     Pursuant to 28 U.S.C. § 1446(b) and Federal Rule of Civil Procedure 6, this original

Notice of Removal was timely filed within 30 days of November 14, 2023, which is the earliest

date of purported service of the Petition on Defendants in this case. See, e.g., Murphy Bros., Inc.

v. Michetti Pipe Stringing, Inc., 526 U.S. 344 (1999).

       21.     Pursuant to 28 U.S.C. § 1446(a), copies of the Complaint and any other process,

pleadings, and orders that Plaintiff purportedly served on Defendants as of the date of the Notice

of Removal are attached collectively as Exhibit A. The Case Docket is attached to this Notice as

Exhibit C.

       22.     Pursuant to 28 U.S.C. § 1446(a), it is sufficient to provide a “short and plain”

allegation of jurisdiction, and it is not necessary to attach evidence establishing those allegations.

See Dart Cherokee Basin Operating Co., LLC v. Owens, 574 U.S. 81, 84 (2014) (“A statement

‘short and plain’ need not contain evidentiary submissions.”).




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        23.     By removing the action to this Court, Defendants do not waive any defects in the

process or service of process in this matter, nor any defenses that are available to it under state or

federal law.

        24.     By removing the action to this Court, Defendants do not admit any allegations in

the Plaintiffs’ Petition.

        25.     Discord reserves the right to amend or supplement this Notice of Removal as

needed.

                    NOTICE TO STATE COURT AND ADVERSE PARTY

        26.     Counsel for Discord certifies that pursuant to 28 U.S.C. § 1446(d), copies of this

Notice of Removal will be filed with the Clerk of the District Court of Bastrop County, Texas, as

an exhibit to a Notice of Filing of Notice of Removal, and served upon the pro se Plaintiffs.

                                          CONCLUSION

        27.     For all of the reasons stated above, this action is within the original jurisdiction of

this Court pursuant to 28 U.S.C. § 1332(a). Accordingly, this action is removable pursuant to

28 U.S.C. § 1441(a).

        WHEREFORE, Defendant Discord removes this action from the District Court of Bastrop

County, Texas, to the United States District Court for the Western District of Texas.




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Dated: December 11, 2023                    MORRISON & FOERSTER LLP



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                                            Attorneys for Defendant Discord Inc.




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                                CERTIFICATE OF SERVICE

        I hereby certify that, on December 11, 2023, the foregoing was served on all counsel of

record via the United States Mail, First class, postage pre-paid, Federal Express, and/or Electronic

Mail.



                                                             _/s/ Austin M. Schnell_______
                                                                Austin M. Schnell




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